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UNITED STATES DISTRICT COURT m
FOR THE NORTHERN DISTRICT OF TEXASm
k LUBBOCK DIVISION ' ¥b

/`MoTIoN UNDER 28 U..S.C 82255"1`0 'VACATE2 SET ASIDE;_ oR CoRREcT SENTENCE BY A PERsoN IN

FEDERAL CUSTODY

 

 

Name of Movant Inmate Number: Criminal Docket No.
15-05-CR-083-C-0I_

FJUAN ANTHONY REYES, JR. 31910-177

 

 

Place of Confinement: (Name, Street or P.O. Box, City, State And Zip Code)

FCI WILL_IAMSBURG P.O.BOX 340 SalterS, S.C. 29590

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*’ b ' Inciude Name upon which _Convicted

va JUAN ANTHONY REYES, JR.,
Petitioner

` (fu|l name of `Movant)

United States of America'
Respondent

 

 

_ _ MOTION
28 U.S.C. Section § 2255(f)(3) Motion
Name and location of court Which entered the judgment of conviction under attack:

U.S. DISTRICT COURT, LUBBOCK DIVISON 1205 TeXaS AVe#C209 “_
`Lubbock, Tean _79401 ~

 

Date of judgment of conviction:
April 7, 2006

Length of sentence:
Two Hundred and Thirty Five (235) months

» Nature of offense involved (include` all counts): `
CONSPIRACY TO DISTRIBUTE & POSSESS WITH INTENT`TO DISTRIBUTE
METHAMPHETAMINE (21 U.S.c. §§§ 846m 841(a)(l) & 841(b)(1)(A)
(viii); Count Three,
SeCtiOn 841 (a) and 841(b)(1)(B) (viii); Count Four-
Distribution of Methamphetamine (21 U.S.C. Section 841(a)(l)

 

Distribution of Methamphetamine (21 U.S.C.

 

and 841<b)<1)<B) rm
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Was your plea (check one): _
w thomny ( ) ` ,
b) Gumy (X) JLR_ 3 \4 20\3
c) Nolo contendere ( )
S, Di$:?TR§CT COUF"\T

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If you entered a guilty plea to one count or indictment and a not guilty plea to another count or

indictrnent, give details:
Not Applicable

 

 

Kmd of mar (checi< one):

a) Jury

b) Judge only

Did you testify at the trial?

Yes U ,No ' l sa d
Did you appeal from the judgment_pf conviction? `

Yes Bl No El

If you did appeal, answer the following:

(a) Name O`fcom; FIFTH cIRcv_`t_i_I_a‘f COURT _oF , APPEAL§ __ __

(b) Result; - #0 6-1047 3 AFFIRMED' (Counsel Abandoned _the Appeal)

(c) Date ofResult: July 27 , 2007m case was dismissed for lack of prosecu-
Other than a direct :;;);galll from the judgment of conviction and sentence, have you previously nled any
petitions, applications or motions With respect to this judgment in any federal court? n

Yes |II No XJ

lf your answer to 10 was “yes”, give the following information

1. (i) Name ofcourr{ ` N<>t Appli€able

(2) Nature ofproceeding: NOt Ap'plicabl e

 

 

 

(3) Grounds Raised: NOt APpliCable

 

 

 

(4) Did you receive an evidentiary hearing on your petition, application or motion?

 

Yes EI No g
~(5)R»esilit; ' Not Applicable
(6)Dare@fResu1t; _ NOt Applicable

 

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Cb)

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As to any second petition, application or motion give the Same information
(l) Name Ofcourt; NO'I‘ APPLICABLE

(2) Nature ofproceeding:
NO'I‘ APPLICABLE

 

 

(3) Grounds Raise_d: NOT APPLICABLE

 

 

 

~(4) Did you receive an evidentiary hearing on your petition,` application or motion?

 

 

Y€S l:| NO? §§
(5)Resu1t: ' NOT APPLICABLE
(6) Date of Result: NOT APPLICABLE

As to any third petition, application or motion give the same infon:nation:
Not Applicable

(l) Name ofcourt:

'(2) Nature of proceeding NOt APPliCab]-e

 

 

 

(3) Grounds Raised: Not Applicable b

 

 

 

(4) Did you receive an evidentiary hearing on your petition, application or motion?
Yes 13 No 151 '

(5)Result: ~ N-Ot Applicable
N A -
<6)DaeofResurt; °t Ppllcable

Don-o /l r\F 7

 

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State concisely every ground on which you claim that you are being held unlawfully Surnmarize briefly
the facts supporting each ground. lf necessary, you may attach pages stating additional grounds and facts

supporting same.

CAUTION: If you fail to set forth all grounds in this motion, you maybe barred from presenting
additional grounds at a later date.

For your information, the following is a list of the most hequently raised grounds for relief in these
proceedings Each statement preceded by a letter constitutes a separate ground for possible relief. You
may raise any grounds Which you have other than those listed. However, you should raise in this motion
all available grounds (relating to this conviction) on Which you based you allegations that you are being
held in custody unlawfully

Do not check any of'these listed grounds lf you select one or more of these grounds for relief, you must
allege facts. The motion will be returned to you if you merely check (a) through (j) or any one of these

 

 

 

 

 

 

 

 

 

 

 

 

 

 

grounds:
- i. ' iii `
l. Conviction obtained by plea of guilty Which Was unlawfully induced or not made voluntarily or
with understanding of the nature of the charge and the consequences of the plea.
2.' Conviction obtained by the use of coerced confession _
3. Conviction obtained by use of evidence gained pursuant to an unconstitutional search and
seizure .
4. Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.
5 . Conviction obtained by a violation of the privilege against self-incrimination
6. Conviction obtained by-the unconstitutional failure of the prosecution to disclose to the
defendant evidence favorable to the defendant
7. Conviction obtained by a violation of the protection against double j eopardy. _
8. Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and
impaneled _
9. Denial of effective assistance of counsel
10. Denial of right of appeal._
l. Ground one:
PLEASE SEE TABLE OF CLAIMS
ATTACHMENT PAGES oNE AND Two
Supporting FACTS (tell your story briefly without citing cases or law:
SEE MEMORANDUM OF LAW ATTACHED HERETO
Supporting FACTS (tell your story briefly Without citing cases or law: l
SEE .MEMORANDUM OF LAW ATTACHED HER`ETO
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C_ Groundthree;PLEAsE san TABLE or cLAIMs

Supporting FACTS (tell your story briefly without citing cases or law:
SEE MEMORANDUM O]:" LAW ATTACHED HERETO

 

 

 

D. Groundfour; PLEASE san TABLE oF cLAIMs

Supporting FACTS (tell your story briefly Without citing cases or law: `
SEE MEMORANDUM OF LAW ATTACHED HERETO
SEE ALSO GROUNDS FIVE THROUGH EIGHT

:;ATTACHED HERETO l
*IN MEMORANDUM o-F LAw

(13) If any of the grounds listedin 12 A, B, C, and D were not previously presented, state briefly what

grounds were not so presented, and give your reasons for not presenting them: Counsel WaS

obviously ineffective for failing-to raise these issues at
trial and at sentencing,Furthermore Appellate counsel should
have raised these issues on direct appeal, but failed to do

so, despite Petitioner request.

(14) Do you have any petition or appeal now pending in any court as to the judgment under attack?
Yes E| No § n
(15) Give the name and address, if lenown, of each attorney who represented you in the following states of the

judgment attacked herein: .
(1) Atpreliminaryheari_ng; Jeff Nicholson, 1110 10th St, Lubbock TX
79401

(2) `At arraignment andplea: Same as above

 

(3) Atrriai; ' ' same as above

 

(4) At Sentencing: Same as abOVe

 

(5) Onappeal; David Martinez, 1663 Boradway, Lubbock TX 79401

 

 

 

(6) ln any post-conviction proceeding: N/A
(7) On appeal from any adverse ruling in a post-conviction proceeding:
' N/A

 

(l6) Were you sentenced on more than one count of an indictment, or on more than one indictment in the

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same court and at approximately the same tirne?

Yes KJ No E|

f l 7) Do you have any future sentence to serve after you complete the sentence imposed by the judgment under

_attack?_
Yes El No XJ
(l) lf yes, give name and location of court which imposed sentence to be served in the future:

N/A

 

 

|_ (2) Give date and length of the above sentence:
"‘ N/A ' ij

tr
(3) Have you filed, or doyou contemplate filing, any petition attacking the judgment which imposed

the sentence to be served in the future?
Yes 13 No § N/A

Wherefore, Movant prays that the Court grant him all relief to which he'may be entitled in this proceeding

 

Signature of Attomey (in any)

l declare under penalty of perjury that the foregoing is true and correct. Executed on

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Date

 

 

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I . BACKGROUND

On September 14, 2005, Reyes was charged in three counts
of a four count indictment. Count one charged Reyes with
conspiracy to distribute and possess with intent to distribute
methamphetamine in violation of 21 United States Code, Section`
[USC] 846. Counts three and four charged Reyes with distribution
of methamphetamine, and aiding and abetting, each in violation
of 21 U.S.C. Section [§§§] 841(a)(1) and (b)(l)(B) and 18
U.S.C. Section § 2. On January 19, 2006, Reyes pled guilty
to count four. On April 7, 2006, Reyes was sentenced to 235
months imprisonment and a five year term of supervised release.
Counts one and three of the indictment were dismissed. On
July 27, 2006, his direct appeal was dismissed for failure
to pay his docketing fee. Reyes Section § 2255 Motion was
timely filed on August 27, 2007. The District Court denied
the Petitioner first Section § 2255 Motion.

The Petitioner now comes before this Honorable Court
with a Title 28 United States Code, Section 2255(f)(3)Motion
for relief.

JURISDICTION

This Court has subject matter jurisdiction pursuant to

Title 28 united States Code, Section § 2255(f)(3) based upon

new intervening changes in the law applicable to Reyes and

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to correct a manifest injustice, upon which this Court can

easily and readily cure.

I. THE PETITIONER IS ENTITLED TO RELIEF UNDER TITLE
28 U.S.C. SECTION § 2255(f)(3) and (f)(4)

Petitioner Reyes avers that though he has already filed
a timely Section § 2255 Motion to Vacate, Set Aside and or
Correct Sentence under the general time frame of Title 28
U.S.C. Section 2255(f)(l) one year limitations period. Reyes
asserts that this motion should be granted to correct a manifest
injustice and is timely under the alternative limitations
period set forth under Section 2255(f)(3), because it this
Motion is filed within the one year limitations period of
Descamps v United States, No.: 11-9540 and Alleyne v. United
States, No.; 11-9335 Furthermorei under Maples v. Thomg§,

565 U.S. , n.7 132 S.ct 912, 922-27, 181 L.Ed 2d 807

n. 7 (2012) and Rivas v. Fischer, 687 F.3d 514, 538 (2nd Cir
2012).
In the above Supreme Court decision in Alleyne, held

that because the mandatory minimum sentence increase the penalty

for a crime, any "fact that increases the mandatory minimum

‘sentence is an element that must be submitted to the jury

and proved beyond a reasonable doubt, accordingly, Alleyne

overruled Harris v. United States, 536 U.S. 545 (2002). ld.

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Petitioner further asserts that because his mandatory
minimum sentence was increased based upon facts that were
not credible findings, i.e., career offender provisions, and
this Court did not properly inquire into his prior conviction
under the Shepard v. United States, 544 U.S. 13 and Taylor
v. United States, 495 U.S. 575, Petitioner states that he
is actually and factually innocent of the Career Offender
under the ruling set forth in Descamps §Ep£a. Furthermore,
Petitioner was abandoned at the appellate level by his Appeal
attorney for failing to prosecute the appeal. Petitioner
Reyes was denied the effective assistance of counsel on direct
appeal, thereby, in violating the dictates set forth under

Douglas v. California, 372 U.S. 353, 9 L.Ed 2d 811, 83 S.Ct

 

814; Ellis V. United States, 356 U.S. 674, 2 L.ed 2d 1060,

 

78 S.Ct 974 (1984) and Evitts v. Lucey, 469 U.S. 387 (1958)(quoting;

Griffin v. Illinois, 351 U.S. 12 (1956); see also Title 18

 

U.S.C. Section § 3006. Petitioner was arbitrarily denied
a direct appeal of his conviction and sentence. Johnson v.
United States, 352 U.S. 565, 1 L.Ed 2d 593, 77 S.Ct 550; Coppedge
v. United States,. 396 U.S. 438, 449, 8 L.Ed 2d 21, 30, 82
S.Ct 917 (emphasis added). Petitioner rights under the Fourteenth
Amendment to the United States Constitution was violated in
these respect. Griffin supra .
The Supreme Court came out with another decision which

permits the Petitioner relief in these ' respects as well.

 

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Maples v. Thomas, 565 U.S., ____5. n.7 132 S.Ct 912, 922,
181 L.Ed 2d 807 n. 7 (2013) holding that abandonment of the
Petitioner's case was cause to overcome procedural defaults
and observing the distinction between attorney negligence
and attorney abandonment, should apply equally in equitable
tolling context. j

To rise to the level necessary to constitute extraordinary
circumstances, the attorney's negligence must be so egregious
as to amount to an effective abandonment of the attorney client

. relationship. Rivas v. Fischer, 687 F.3d 514, 538 *2nd Cir

2012). (applying equitable exception to AEDPA's limitations
period under title 28 U.S.C. Section § 2244(d)(l)).

However, not only did Appellate counsel breach and abdandoned
the attorney client relationship when it came to Petitioner
Reyes direct appeal, but also, the 2255 Post Conviction Attorney
was completely ineffective when collaterally attacking the
conviction, judgment and sentence.

In the Supreme Courts decision in Martinez v. Ryan, U.S.
132 S.Ct 1309, 182 L.Ed 2d 272 provides relief for Post conviction
Counsel that was ineffective. Though it was never applied
to a federal habeas proceeding, and this would be first impression,
it necessarily turns on equal protection principles that
Reyes had the right to effective post conviction counsel during
his firt collateral attack and proceeding.

Since the Supreme Court has determined that a criminal

defendant has the right to a direct appeal, and Reyes was

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denied this right, Maples v Thomas, holds that an abandonment

by counsel on state post conviction proceedings constituted
cause and prejudice for claims procedurally defaulted on federal
habeas review, certainly, on a criminal defendants first direct
appeal as of right, Maples reasoning would apply.

Reyes post conviction counsel was so deficient in presenting
any claims, and Reyes inability to present an ineffective-assistance
of counsel claim is of particular concern because the right
to effective representation is a bedrock principle in this
Nation's justice system. Martinez v,~Ryan, supra.

Because Martinez noted that Coleman v. Thompson,
501m U.S. 722, 753, 754 (1991),that initial review collateral
proceeding a prisoners "one and only appeal" as to an ineffective
assistance claim, i§., at 756 (emphasis deleted; internal
quotation marks omitted), and this may justify an exception
to the constitutional rule that there is no right to counsel
in collateralattack. The Court inColeman recognized that
if an attorney appointed by the State to pursue a direct
appeal is ineffective, the prisoner has been denied fair process
and the opportunity to comply with the States procedures and
obtain an adjudication on the merits of his claims. See 501
U.S. at 754; Evitts v. Lucey, 469 U.S. 387, 396 (1985); Douglas
§Bp£a, without the help of an adequate attorney, a prisoner
will have similar difficulties vindicating a Substantial ineffective

assistance of trial counsel claims.

 

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Because Petitioner Reyes asserts that the Section § 2255(f)(3)
provides that the one year limitations period begins to run
from the date which the right was asserted was initialy recognized
by the United States Supreme Court. . ." §§ 28 United States
Code, Section 2255(f)(3). Reyes is entitled to relief under
Alleyne supra, Descamps supra and Martinez v. Ryan, supra.
Petitioner Reyes argues that his Section 2255(f)(2) motion
is an appropriate vehicle because it is filed within the
one year limitation period under Alleyne, Descamps holding.
See Dodd v. United States, 545 U.S. 353, 357-58, 125 S.Ct
2478, 162 L.ed 2d 343 (2005)(Holding that the one year limitation
`period begins to run "from the date on which the right .
. . was initially recognized by the Supreme Court." Petitioner
Reyes also contends that Alleyne and Descamps applies to his
case retroactively.

In United States v. Snaders, 247 f.3d 139 (4th Cir 2001),
the Fourth Circuit assumed, without deciding, that a Circuit
Court can declare a new rule retroactive on collateral review
in an initial Section § 2255 Petition. ld. at 146 gi 4; see
also; United States v. Thomas, 627 F.3d 534 (4th Cir 2010).

In doing so, the Thomas Court noted that the statutory
language governing retroactivity for purposes of Section 2255(f)(3)
and the statutory language governing retroactivity for purposes

'of filing a Second or Successive Section § 2255 motion under

Subsection (h). ld. Unlike the former, which references a

 

 

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"right that has been newly recognized by the Supreme Court
and made retroactively applicable to cases on collateral review."
Section 2255 (f)(2)(emphasis added); The later, specifically
provides that "a second or successive motion must be certified
as provided in Section § 2244 by a panel of the appropriate
court of Appeals to contain. . . a new rule of Constitutional
law, made retroactive to cases on collateral review by the
Supreme Court that was previously unavailable. 28 U.S.C. Section
2255(h)(2).

In regards to Reyes case, the underlying conviction for
his violations has exceeded the statutory mandatory minimum
and maximum applicable to him under the United States Sentencing
Guidelines. Reyes was erroneously and illegally Sentenced
as a career offender when he in fact and law is not one. Reyes
should not have to serve a portion of his sentence as a career
offender when it does not apply to his cause. y

This Court should join those Circuits that have considered
the issues and hold that the Section § 2255(f)(3) does not
require that the intial retroactivity question be decided
in the affirmative by the United States Supreme Court. See
Weigard v. United States, 380 F.3d 890, 892 (6th Cir 9004)7
holding that any Federal Court can make a retroactivity decision
for purposes of Section § 2255(f)(3)`;Dodd v. United States,
356 F.3d 1273, 1278 (llth Cir 2004)(noting that "every Circuit

to consider this issue has held that a Court other than the

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Supreme Court can make a retroactivity decision for purposes
of Section § 2255(f)(3)); aff'd, 545 U.s. 353, 125 s.Ct 2478,
162 L.Ed 2a 343 (2005); United states v. swinton; 33 F.3d
481, 486, 487 (3d Cir 2003); see alsol Fischer v. United States,
285 F.3d 596, 599-600 (7th Cir 2002); United States v. Lopez,
248 F.3d 427 (5th Cir 2001).
In this case, the Supreme Court announced a "new rule"
that applies to all criminal cases; Schriro v. Summerlin,
542 U.S. 348, 351, 124 S.Ct 2519, 159 L.Ed 2d 442 (2004)(citing;
Griffin v. Kentucky, 479 U.S. 314, 328, 107 S.Ct 708, 93 L.Ed
2d 649 (1987). Where a conviction is final, however, the
rule applies only in limited circumstances." Schriro, 542
U.S. at 351. New procedural rules applies retroactively only
to cases on collateral review only if they fall within the
"small set of 'watershed' rules of criminal procedure implicating
.the fundamental fairness and accuracy of criminal proceedings."
§§ at 352 (internal quotation marks omitted). See Saffle v.
§a£k§, 494 U.S. 484, 495, 110 S.Ct 1257, 108 L.Ed 2d 415 (1990).
This is because such rules "regulate only the manner w
of determining the defendant's culpability." Schriro, 542
U.S. at 353 They do not produce a class of persons convicted
of conduct the law does not make criminal, but merely raises
the possibility that someone convicted with use of the invalidated
procedure might have been acquited otherwise." ld. 352.

Because, Alleyne is a substantive new rule, in contrast,

 

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generally apply retroactively. Thomas, at 537. A rule is
"substantive" rather than procedural if it alters the range
of conduct or the class of persons the law punishes. ld.
Thomas, at 537; citing Schriro, 524 U¢S. at 353. "Such rules
apply retroactively because they necessarily carry significant
risk thata defendantstands convicted of an act that the law
does not make criminal or faces a punishment that the law
cannot impose upon him. lg_at 352 (internal quotation marks

omitted).

In light of Alleyne overruling Harris "aggravating factors"
now has been declared to violate the protected requirements
under the Fifth, Sixth and Fourteenth Amendment to the United
States Constitution as Amended. The Petitioner's statutory
mandatory minimum sentence has been increased under the applicable
Guideline range creating a manifest miscarriage of justice.

Most factors that "aggravate" or "increase" a defendant's
sentence, are found either in the Statute enacted by Congressional
Intent, and include, but is not limited to the nature of
the defendant's participation in the commission of the offense,
the degree of the defendant's partcipation in the commission
of the offense, the degree of the defendant's participation
or organizing the offense, and the degree of control and

authority the defendant excerised over others. These factors

are found usually by the sentencing judge under U.S.S.G.

 

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Section § 3B1.l Comment pi 4. These factors are "judicial
fact-finding" applied by the District Court upon the preponderance
of the evidence standard.

Wherefore, the Petitioner states that the foregoing
Table of Claims attached hereto and made a part hereof incorporated
herein by reference are suitable ground to permit the Petitioner

appropriate relief under the circumstances of this case.

T A B L E O F C L A I M S

"THE PETITIONER COUNSEL WAS INEFFECTIVE FOR FAILING
TO CHALLENGE PETITIONER REYES PRIOR CONVICTIONS
AS NON-QUALIFYING PREDICATE OFFENSES FOR CAREER
OFFENDER PURPOSES BOTH AT TRIAL AND ON DIRECT
APPEAL" ~

"PETITIONER'S APPELLATE COUNSEL ABANDONED THE

PETITIONER'S FIRST APPEAL AS OF RIGHT"

"THE PETITIONER POST CONVICTION COUNSEL WAS

INEFFECTIVE FOR FAILING TO RAISE AND CHALLENGE

THESE ISSUE ON THE FIRST SECTION 2255"

The Petitioner Reyes avers that his defense counsel,

Appellate Counsel and Post Conviction Counsel were both ineffective
for failing to (1). Raise claims and challenges to the Petitioner's
prior conviction as non~qualifying predicate offenses for
career offender purposes under Taylor and Shepard modified
categorical approach and that only one prior conviction qualifies

for Career Offender purposes; (2) that Appellate Counsel

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abandoned the Petitioner on direct Appeal as of a matter
of right, thereby, depriving the Petitioner a direct appeal,
and (3) Post Conviction relief counsel was ineffective for
failing to search the record and raise ineffective assistance
of counsel challenges on direct appeal and the career offender
issues raised herein.
A. Petitioner is not a Career Offender
Applying the standards set forth in approved analysis
under the "modified categorical approach" the Petitioner
does not meet the predicate prior convictions to make him
a Career Criminal Under the U.S.S.G. and he is therefore
actually, factually and legally innocent of the Career Offender
provisions. To count as a predicate offense under the Career
Offender sentencing schemes, a legal rather than a factual
inquiry should be made in determining whether a defedant
has a prior felony conviction which are crimes of violence,
as defined in the U.S. Sentencing Guidelines under USSG 4Bl.2.
The factual inquiry is not appropriate because; (1)
the career offender provision focuses on defendant's prior
convictions, not his "prior conduct," (2) the Definition
of a "crime of violence" focuses on the "elements" of the
crime, not the defendant's conduct. . ." See United States
v. Wilson, 951 F.2d 586, 588 (4th cir 1991)(cert den)___U.S.___,
119 L.Ed 2d 218, 60 USLW 3799, 112 S.ct 2294 lUS 1992)(emphasis

added).

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Because this Court should have taken a deeper look

at the Petitioner Reyes previous prior convictions, to determine
if in fact, the prior convictions actually qualify under
the "modified categorical approach" for career offender enhancement
purposes, counsel was ineffective for failing to make these
challenges, both at sentencing, and for failing to continue
on with Reyes direct appeal,

The prior convictions used to career Mr. Reyes under
the U.S.S.Guidelines were invalid, non-qulaifying offenses
and fell below established criteria used to designate them
as crimes of violence, triggering an illegal enhancement
of the Career Offender provision.

During a sentencing proceeding in Reyes case, the court
simply relief upon an inapprorpiate PSR characterization
of Reyes prior convictions as crimes of violence.. The District
Court, and of course counsel failed to properly challenge
and make an independant analysis on it's own in reference
to the prior convictions used to illegally enhance R€YSS-
United States v Ochea-Cruz, 442 F.3d 865, 867 (5th Cir 20063Shepard
v. United States, 544 U.S. 13 (2005) Taylor v. United States
supra and now in light of Descamps v. United States, the
Supreme Court approved the approach and permitted it'S
`application permitting a Court to determine which statutory
phrase was the basis for the conviction. Descamps, Nijhawan

V. Holder,._557 U.S. 29, 129 S.Ct 2294, 174 L.Ed 2d 22 (2009);

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Johnson v. United States, 559 U.S. 133, 144 (2010)(citations
omitted) Descamps §pp£a Crim Law Rprt, Vol. 93, No. 13, page
473.

Previosuly, in Nijhawan v Holder, supra the Supreme
Court noted that the "categorical method" is not always easy

’ to apply. §§ at page.28.
Reyes avers that he was convicted in this case and sentenced
as a career offender, when he has only one prior conviction
that qualifies as a serious drug offense or crime of violence
for career offender enhancement purposes. The Petitioner
does not have the required two prior felony convictions for
career offender purposes.

Petitioner Reyes is actually innocent of the career
offender provisions and should be resentenced accordingly.
Petitioner is actually innocent of being a Career offender
and because of this, counsel was ineffective for failing
to challenge the career offender application both at sentencing
and on direct appeal. The career offender application is
in violation of clearly established law, policy, custom
and practice. United States v. Johnson, 130 S.Ct 1265; United

States v. Chambers, 129 S.ct 687; United States v. Begay,

 

128 S.ct 1581.` Petitioner's current conviction and sentence

violates United States v. Begay.

Petitioner is serving an unconstitutional sentence which

imposed a sentenced beyond and above the statutory mandatory

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minimum and maximum under the applicable guideline range.
Petitioner does not meet the "career offender" status and
should not be forced to serve a portion of his sentence as
such. United States v. Davis, 417 U¢S. 333, 346; Engle v.
;§§§§, 456 U.s. 107, 126; Leocal v. Ashcroft, 543 U.s. 1
(2004); Jackson v. United States, 2011 WL 55361; No.: 09-949487
(2011); United States v.. Bailey, 516 U.S. 137 (1995); United
States v. Bousely, 523 U.S. 225-228-29 (2001); Sawyer v.
Whitely, 505 U.S. 333 (1992); Schlup v. Helo, 513 U;S. 298;
Beltran v. United States, Supreme Court Case no.; 2011 WL

5364 (2011); Dretke v. Haley, 124 s.ct 1847; United states

v. Mikalajuna, 186 f.3d 888, 893 (4th Cir); Haley v. Cockrell,
306 F.3d 257, 264 (5th Cir 2002); Spence v. Superintendant
Great Meaows Correctional Facility, 219 F.3d 162 (2nd Cir);
United States v. Garciay 606 F.3d 1317 (11th Cir 2010); United
States v. Williams, 609 F.2d 1168 (11th Cir 201); United
States v. McGall, 618 f.3d 1273 (11th Cir 2010); United States
v. Gilbert, 625 F.3d 716 (11th Cir 2010); United States v.
Acher , 531 F.3d 1347 (11th Cir 2008).

Wherefore, Petitioner is actually, factually and legally
innocent of being a career offender, this court should invoke
it's equitable powers and permit either a new direct appeal
to raise these issues because the first appeal was abandoned `
by appellate counsel, or vacate the sentence and re-sentence

Reyes without the career offender provisions applied to his

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sentence.

B. PETITIONER'S APPELLATE COUNSEL ABANDONED THE
PETITIONER'S APPEAL DEPRIVING HIM OF DIRECT REVIEW

The Petitioner adopts the procedural Background in Section

One (I) herein and as made a part hereof incorporated herein

by reference to the extent that Petitioner filed a timely Notice

of Appeal to the Fifth Circuit Court of Appeals; Appellate

Counsel abandoned Petitioner's first Appeal as of right without

filing any brief or arguments in Support thereof and never

withdrew. The Fifth Circuit Court of Appeals, by virtue of

the Court order dated July 27, 2006, the Fifth Circuit

court of Appeals dismissed Petitioner's direct appeal for

want of prosecution.

I. PETITIONER WAS DENIED DUE PROCESS OF_LAW

The Petitioner avers that he was denied both the "equal
protection" under the laws and "due process" under the laws
of the United States and the United States Constitution pursuant
to U.S. Const Amendment 1, 5, 6 and 14 as Amended.

Petitioner Reyes avers that (1) he was denied a direct
appeal, (2) an Attorney for Appeal; (3) the right to proceed
in forma pauperis on appeal; (4) briefing on the merits of
the appeal; 15) review by the Court of Appeals and (6) denied
due process and equal protection under the laws of the United

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States.

Petitioner Reyes was denied "direct appellate review"
of his criminal proceedings and sentence which is an "injustice"
diminishing the intergrity of the Judicial Process and proceedings
held and brought against Reyes.

In Reyes case, Reyes was deprived a "fundamentally protected
ConstitutionalRight," to counsel on appeal. This Right to counsel
on Appeal is made applicable through the 14th Amendment as Amended.

Reyes avers that a criminal defendant has an absolute
right to a direct appeal and since Griffin v. Illinois, 351
U.S. 12, 76 S.Ct 585, 100 L.Ed 891 (1956) is no longer open
to question that an indigent defendant has a constitutional
right to a review of his case on appeal, as a matter of right,
since the same right is granted to non-indigents. And, "where
the merits of the one and only appeal an indigent has as a
right are decided without the benefit of counsel we think an
unconstitutional line has been drawn between the rich and poor
alike." Douglas v. California, 372 U.S. 353, 357, 83 S.Ct
814 , 816, 9 L.Ed 2d 811 (1963)

Like the Petitioner Reyes case, the Fifth Circuit in 1972
in Foxworth v. Wainwriqht, 449 F.2d 319 (5th Cir 1971) found
that while his appeal was perfected, it was not prosecuted.
Perfection is a half a loaf only, and here a half of loaf is
no better than none. l§. (emphasis added).

The Court of Appeals did not give retrospective application

to Douglas v. California, supra see Gregroy v. United States,

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446 F.2d 498 (5th Cir 1971); Breen v. Beto, 421 F;Zd 945 (5th
Cir 1971); which concluded on the record that Foxworth was
entitled to have a review of his trial, and conviction as an
original appeal with counsel, or to be released. ld; Foxworth
ap 320.

Like the case in Foxworth, Reyes did not have review of
his trial conviction and sentence on an original direct appeal

with the benefit of counsel.

i. Actual Prejudice

The applicability of Strickland v. Washington, 466 U.S.
668 (1984) "actual prejudice" prong to Reyes claims of ineffective
assistance of both trial, appellate and post conviction counsel
follows from Penson v. Ohio, 488 U.S- 75, 109 S.Ct 346, 102
L.Ed 2d 300 (1988) where the United States Supreme Court distinguished
the denial of counsel on appeal altogether.

Because in this case, Reyes was deprived of Appellate
counsel altogether, and the proper procedure for determining
whether the defendant's appeal is frivolous has not been met.
Anders v. California, 386 U.S. 738; Smith v. Robbins, U.S.____,
120 S.Ct 746, 145 l.Ed 2d 756(2000); People v. Wende, 600 P.
2d 1071 9 Cal 1979). The court has left the defendant Reyes
without counsel on direct appeal, there is, without doubt strong

reasons that the Petitioner Reyes has been prejudiced.

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ii. Inneffective Assistance of Counsel On Collateral

Review

In the Supreme Courts recent decision in Martinez v. Ryan,
123 S.Ct 1309, 182 L.Ed 2d 272, 2012 WL 912950 (US March
20, 2012) the Court held that "[i]ndigent assistance of counsel
at initial review collateral proceedings may establish cause
for a prisoners procedural default of a claim of ineffective
assistance of counsel at trial." 132 S.Ct 1309, 182 LlEd 2d
272, 2012 wL 912950 at *5.

While Martinez v. Ryan deals specifically with State collateral
proceedings, this Court should not "invidiously " descriminate"
between application of state and federal law and collateral
proceedings. This court should, in the interest of fairness,
as in Canter v. Thaler, 632 F.3d 157 (5th cir 2011); 682 F.3d
1053 (June 1, 2012) decide in the first instance the impact‘
of Martinez on Reyes contentions that he had cause for any procedural
defaults.

Petitioner Reyes avers that Maples v. Thomas, 565 U.S.____,

132 S.Ct 912, 922, 181 L.Ed 2d (2012) is supportive in that
it has already impacted the Courts decision in prior cases
such as Maples v. Allen, 586 F.3d 879 and Maples v. Comm'r of

the Ala Dept of correc, 460 red Appx 860 (5th cir 2012). In

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Maples v. Thomas, supra noted that when a law firm representing

 

a death row inmate missed a crucial filing deadline "A significant

conflict of interest arose because 'the firms interest ing

avoiding damage to it's own reputation was at odds with

the [inmates] strongets arguments", i.e., that his attorney's

has abandoned him, therefore, he had cause to be relieved

from his default."
Maples v. Thomas, held the proposition that in a habeas

context, a client cannot be charged with the acts or omission

of' an attorney who had abandoned him. ld_(emphasis added).
Wherefore, in light of this reasoning, the Petitioner

cannot be charged with the abandonment of his attorneys

during the direct appeal proceedings and the case should

be equitably4 tolled because of this Appeal denial alone.
Furthermore, the Petitioner cannot be at fault for inadequate

post conviction because counsel was ineffective for failing

to not raise this appeal issue to the district court in the

original timely filed Section § 2255 proceedings. see; Martinez

v. Ryan, supra.

PETITIONER SENTENCE IS ILLEGAL UNDER
TITLE 21 U.s.c. Section § 841(b)(1)(A)
UNDER ALLEYNE V. UNITED STATES
The Petitioner avers that his sentence is illegal, nunc

pro tunc by virtue of a Congressional Amendment 104 Stat.

4828; Pubiic law 101-647-Nov 29, 1990 in regards to the United

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States Sentencing Commissions sentence disparity concerns.
A Federal Courts Study Committee did comment that:
"Our concern is that the recent mandatory minimum creates
penalties so distorted as to hamper federal criminal adjudications.
They control judiciary in a way that is far more rigid than-indeed,
inconsistent with - - the sentencing approach Congress adopted
in the 1984 Sentencing Reform Act. Report of the Federal
Courts Study Committee § 134 (1990)."

The harsh mandatory minimum sentences imposed under
the Guidelines have lead to the resignation of the Honorable
J. Lawrence Irving, who stated, "I just can't, in good conscious,
continue to do this." N.Y. Times Sept 30, 1990 § 1, pt. 1
at 22 Col. 1. Congress has also taken note of the possibility
of conflict between mandatory minimum sentencing provisions
and "the good of eliminating unwarranted sentencing disparities.“
crime control Aet of 1990, Pub. L. Ne 101-647 § 1702, 104
Stat. 4789. 4845-46 (1990)(directing Sentencing Commission
to report on effects of mandatory minimum and to advise
Congress of alternative method to achieve sentencing consistency.
see United States v. Bernier, 758 F.Supp 195 (2nd Dist 1991).

In 1990, Congress responded to this call of the Sentencing
Commission and Courts call in their study and did, per public
Policy, Public Law 101-647, of the Act of November 29, 1990,

104 Stat 2828, "removed" from the Section § 405 of the "controlled

Substances Act," did amend paragraph one (1) of that subsection

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in subsection (a), by striking "of the Controlled Substance
Act (21 U.S.C. 841(b)(1)(A)" and striking of the Act of
21 U.S.C. Section 841(b)(1)(A). . . " §§§ Exhibit-A. Section
841(b)(l)(A) was completely removed from the act.
This 1990 Amendment made a significant change under
Title 21 U.S.C. Section 841. lt completely eliminates the
penalty provisions of 120 months to life. Whereas, the penalty
provisions under 0 to 10, 5 to 40 are still in effect.
Congress removed the sentencing disparities under 841 (b)(l)(A)
to change the mandatory minimum and to achieve methods of
alternative sentencing schemes and the consistent sentencing
disparities thereof under the Crime Control Act of 1990,
Pub L. No.: 101-647 § 1202; 104 Stat 4789, 4830, 4828 respectively.
WHERFORE, the Petitioner Reyes request that this Court
permit him to present his claims via 28 U.S.C. Section 2255

(f)(3).
coNcLUsIoN

Wherefore, the Petitioner request that this Court grant

him the requested relief to vacate his judgment, conviction

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Reg No.: 31910-177
FCI WILLIAMSBURG
P.O.Box 340
Salters, S.C. 29590

and sentence.

 
  

  

Petitioner

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OATH OF VERITY

418 .
Sworn to under penalty of perjury on this;j?% day of

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zipan/REYES JR/j;%¢
Reg No.; 31910:177
FCI'WILLIAMSBURG
P.O.Box 340
Salters, S.C. 29590

 

Petitioner

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was mailed
to the following parties;

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PUBLIC`LAW 101-647-NOV. 29, 1990

104 STAT. 4828
(e) CONFORMING AMENDMENTS 'ro OTHER SEc'noNs.-{l) Section 4
21 USC 841~_ 401(})_) of the Controlled Substances Act is amended by striking
section 405, 405A, or 405B" and inserting “section 418, 419, or 420' .

(2)_Section 401(c) of the Conttolled Substances Act is amended by
Str;l§lglg “section 405, 405A,v or 405B” and inserting “section 418, 419,
or ’ .

(f) 'AMENDMENT 'ro TAan or
the Comprehensive Drug Abuse
is amended in part D of title ll by striking
405A and 405B and inserting at the’ en
“418. Distribution to persons under age twenty-one.
"419. Distribution or manufacturing in or near schools and colleges

::420. Employment of persons under 18 years of age
421. Demal of Federal benefits to drug traffickers and possessors.".

(g) TRANSFER oF SEc'noN 6486 or THE AN'rx-DRUG ABUsE Ac'r or
1988-NEW SEc'rIoN 405.-(1) Section 6486 of the Anti-Drug Abuse

21 USC 844‘1' Act of 1988 is--
' (A) transferred to the Controlled Substances Act; and _
(B) redesignated as section 405 of the Controlled Substances

Act. _ » .
(2) Section 405, of the Controlled Substances Act, as amended by

Paragraph_ (1) of this subsection is emended_
' \ (A) m subsection (a), by-
(,x§ (i) striking “of the controlled substances Act (21 U.s.c.

%4\ \Q ,\ _,841<_1>)<1)(.4)) ’; and
- 339/b ="' (11)` striking “of that Act (21 U.S.C. 841(b)(1)(A))”;
Q\ (B) in subsection (c), by striking “as defined in section 102 of
_ the Controlled Substances Act (21 U.S.C. 802)";
(C) in subsection @)(4), by striking “as defined in section 102 of
the Controlled Substances Act (21 U.S.C. 802)”.
rehensive Drug Abuse

j (3) The table of contents of the Comp
/ Pr_evention and Control Act of 1970 (as amended by subsection (c) of
this section) is amended in part D of title II by inserting after the
item for section 404 the following: '

“405. Civil penalty for possession of srnall amounts of

stances.".
(h) PAR'r E or THE CoN'rnoLLED SUBs'rANcEs Ac'r.-- .
(1) Snc'rioN sma-an sacron 518.~Section 511A of the
§SSUSC 881-1, Contro]led Substances Act is redesignated as section 518.
‘ (2) TsANann oF sEc'rmN 1764 or ran soon sEcUnrrr Ao'r or
1985.-Section 1764 of the Food Security Act of 1985 iss-1 t d
c ; an

CONTENTS.--The table of contents of
Prevention and Control Act of '197 0
the items for sections 405,
d` thereof the following:

 

certain controlled sub~

21 Usc ssie.

889' ~ (A) transferred to the Controlled Substances
(B) redesignated as section 519 of the Controlled Sub
stances Act. . .
NTENTS.-The table of contents

(3) AMENDnmN'r 'ro 'rAnLn or c
of the Comprehensive Drug Abuse
of 1970 is amended in part E of title
section 511A and inserting at the end

"518. Expedited procedures for seized conveyances
“519. Production control of controlled substances.". `
SEC. 1003. CLARIFICATION OF ENHANCED PENALTIES UNDER CON-
TROLLED SUBSTANCES ACT.
LD SECTION 405).-Section 418 of the Controlled
Act) is amended- v
unishable by (1) a term of
twice that authorized by

Prevention and Control Act

II by striking the items for
thereof the following:

(a) Snc'r!oN 418 (O

An¢e, P_ 4827- Substances Act (as redesignated by this
" (1) in subsection (a), by striking “p
imprisonment, or a fine, or both, up to

 

         

                   

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